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                                                      January 20, 2022

BY ECF
The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

RE:   United States v. Michael Avenatti,
      19 Cr. 374 (JMF)

Dear Judge Furman:

       We write to respectfully request that the Court preclude or restrict Sean
Macias’s testimony because it is inextricably intertwined with his prior
representation of (and work as co-counsel with) Michael Avenatti and raises a
conflict of interest. Specifically, Mr. Macias’s testimony would violate the attorney-
client privilege, the work product doctrine, and the duty of loyalty attorneys owe
their former clients.

       As set forth in the attached affirmation (Exhibit A), Mr. Macias had an
attorney-client relationship with Mr. Avenatti at various points throughout the
period at issue in this trial. Mr. Avenatti sought and relied on Mr. Macias’s legal
advice on numerous occasions, including with respect to his dealings with Ms.
Clifford. In addition, Mr. Macias currently represents Mr. Avenatti’s estranged wife
and is privy to information covered by the spousal privilege that also concerns
matters relevant to this trial. Because it is very difficult to disentangle Mr. Macias’s
knowledge of Mr. Avenatti’s affairs from their attorney-client and professional
relationship (and Mr. Macias’s current representation of Mr. Avenatti’s estranged
wife), the Court should preclude or significantly restrict the scope of Mr. Macias’s
testimony.
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The Court should preclude and/or restrict Mr. Macias’s testimony under
the attorney-client privilege, work-product doctrine, and spousal privilege
because he previously represented Mr. Avenatti, litigated cases alongside
him, and presently represents Mr. Avenatti’s estranged wife, including in
divorce proceedings.

       Lawyers have a duty of loyalty to their former clients. Under Rule 1.9 of the
California Rules of Professional Conduct, “A lawyer who has formerly represented a
client in a matter… shall not thereafter… use information protected by Business
and Professions Code section 6068, subdivision (e) and rule 1.6 … to the
disadvantage of the former client” or “reveal information protected by Business and
Professions Code section 6068, subdivision (e) and rule 1.6 ….” Cal. R.P.C. 1.9. The
Comment to this Rule further explains:

      After termination of a lawyer-client relationship, the lawyer owes two
      duties to a former client. The lawyer may not (i) do anything that will
      injuriously affect the former client in any matter in which the lawyer
      represented the former client, or (ii) at any time use against the former
      client knowledge or information acquired by virtue of the previous
      relationship.” See Oasis West Realty, LLC v. Goldman (2011) 51 Cal.
      4th 811 [124 Cal. Rptr. 3d 256]; Wutchumna Water Co. v. Bailey (1932)
      216 Cal. 564 [15 P.2d 505].). … These duties exist to preserve a client’s
      trust in the lawyer and to encourage the client’s candor in
      communications with the lawyer.”

       “As a general matter, permitting counsel to be called as witnesses, even in a
hearing out of the presence of the jury, is a step a court should ordinarily be
reluctant to take.” United States v. Doyle, No. 16-CR-506 (ALC), 2018 WL 1902506,
at *19 (S.D.N.Y. 2018) (internal citations omitted). “Even where the attorney no
longer represents the client, the practice is strongly disfavored.” Id. Indeed, even if
an attorney testifies against a former client about matters already in the public
record, “[t]he mere appearance of an attorney testifying against a former client … is
distasteful and should only be used in rare instances.” United States v. Cochran,
546 F.2d 27, 29 & n.5 (5th Cir. 1977). See also United States v. Gasparik, 141 F.
Supp. 2d 361, 370 (S.D.N.Y. 2001) (noting that testimony by former attorney,
depending on the subject matter, may be subject to attorney-client privilege).

      Mr. Avenatti’s affirmation makes clear that he has a complicated history
with Mr. Macias—having sought his legal counsel and worked alongside him on
various cases—which is compounded by Mr. Macias’s present representation of Mr.
Avenatti’s estranged wife, including in their divorce proceedings. The Court should
not permit Mr. Macias to testify because it is impossible to disentangle what he has

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learned about Mr. Avenatti through their confidential communications from what
he knows about Mr. Avenatti outside of that context. Worse, Mr. Macias is clearly
privy to the most intimate details of Mr. Avenatti’s life through his current
representation of Mr. Avenatti’s estranged wife. Any knowledge Mr. Macias has
acquired about Mr. Avenatti through this representation is likely covered by the
spousal privilege and otherwise creates an untenable conflict of interest. And to
the extent Mr. Macias’s testimony is derived from his work alongside Mr. Avenatti
on the cases they litigated together, it potentially implicates their work product, the
disclosure of which Mr. Macias cannot waive on Mr. Avenatti’s behalf. Cf. Lasky,
Haas, Cohler & Munter v. Superior Court, 172 Cal. App. 3d 264, 270 (Ct. App. 1985)
(in California, work-product privilege “is held exclusively by the attorney in all
circumstances”).

Conclusion

      For the reasons set forth herein and in the attached affirmation, the Court
should preclude, or alternatively restrict, Mr. Macias’s testimony. In the
alternative, the Court should hold a hearing.

                                                     Respectfully Submitted,

                                                                 /s/
                                                     Robert M. Baum
                                                     Tamara L. Giwa
                                                     Andrew J. Dalack
                                                     Assistant Federal Defenders

Cc:   Government Counsel                             Counsel for Michael Avenatti




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